                Case 3:22-cv-05150-JHC Document 20 Filed 07/11/22 Page 1 of 2




 1
 2
 3
 4
 5
                                     UNITED STATES DISTRICT COURT
 6
                                    WESTERN DISTRICT OF WASHINGTON
 7
                                              AT SEATTLE
 8
 9
10
     SECURITIES AND EXCHANGE
11   COMMISSION,                                      Case No.: 3:22-cv-05150-JHC
12                     Plaintiff,
13
     v.                                               ORDER OF DEFAULT AGAINST
14                                                    DEFENDANTS S-RAY
15                                                    INCORPORATED AND STEPHEN
     S-RAY INCORPORATED and                           ALEXANDER BAIRD
16   STEPHEN ALEXANDER BAIRD,
17                     Defendants.
18
19
20
21
22
23
24
25
26
27
28                                                                  Securities and Exchange Commission
     ORDER OF DEFAULT                                                  44 Montgomery Street, Suite 2800
     (No. 3:22-cv-05150-JHC)                                                    San Francisco, CA 94104
                                                                                         (415) 705-2445
                Case 3:22-cv-05150-JHC Document 20 Filed 07/11/22 Page 2 of 2




 1          THIS MATTER came on the motion of Plaintiff Securities and Exchange Commission

 2 (“Plaintiff”) for an order of default against Defendants S-Ray Incorporated and Stephen Alexander
 3 Baird (“Defendants”). By its motion, Plaintiff has demonstrated that the Court has considered the
 4 files and records in this case and the Declaration of Robert J. Durham, attorney for Plaintiff, and
 5 finds that Defendant S-Ray Incorporated waived service in this action and Defendant Stephen
 6 Alexander Baird was served in the manner required by the laws of the United States of America,
 7 that the statutory time has elapsed since Defendant S-Ray Incorporated’s waiver of service and the
 8 service on Defendant Stephen Alexander Baird, and that Defendants have not appeared, have not
 9 served or filed an answer, and are wholly in default, and that venue was proper; now, therefore,
10          IT IS HEREBY ORDERED that Defendants S-Ray Incorporated and Stephen Alexander

11 Baird are hereby in default.
12          Dated this 11th day of July, 2022.

13
14                                                  RAVI SUBRAMANIAN
                                                    Clerk of Court
15
                                                    s/ Ashleigh Drecktrah
16                                                  Deputy Clerk
17
18 Presented by:
19 SECURITIES AND EXCHANGE COMMISSION
20 By:
21 s/ Robert J. Durham
   Robert J. Durham
22 Conditionally  Admitted Pursuant to LCR 83.1(c)(2)
   Securities and Exchange Commission
23 44 Montgomery Street, Suite 2800
   San Francisco, California 94104
24 Telephone:  (415) 705-2445
   Facsimile: (415) 705-2501
25 Email: durhamr@sec.gov
   Attorney for Plaintiff Securities and Exchange Commission
26
27
28
                                                   2                        Securities and Exchange Commission
     [PROPOSED] ORDER OF DEFAULT                                               44 Montgomery Street, Suite 2800
     (No. 3:22-cv-05150-JHC)                                                            San Francisco, CA 94104
                                                                                                  (415) 705-2445
